
672 S.E.2d 687 (2009)
Patrick COWELL and wife, Terri Cowell
v.
GASTON COUNTY, First Gaston Bank of North Carolina, Countrywide Home Loans, Inc.
No. 359P08.
Supreme Court of North Carolina.
February 5, 2009.
D. Christopher Osborn, Charlotte, for Gaston County.
William Everett Moore, Jr., Arcangela M. Mazzariello, Gastonia, for Cowell.
A. Todd Brown, Brent A. Rosser, Charlotte, for Countrywide Home Loans.
Prior report: ___ N.C.App. ___, 660 S.E.2d 915.

ORDER
Upon consideration of the petition filed on the 1st day of August 2008 by Defendant (Gaston County) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
